                     Case 17-17071-RAM              Doc 64        Filed 04/28/22          Page 1 of 1


                               UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF FLORIDA
 IN RE:                                                       §
                                                              §      CASE NO. 17-17071-RAM
 REINA J ORTIZ BARRIENTOS                                     §
       DEBTOR                                                 §



                                     NOTICE OF ADDRESS CHANGE
A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). PLEASE TAKE NOTICE that the
notice address and payment address for the below mentioned Creditor has changed. Please update the case and claims register
with the new information outlined below.


        Summit Financial
          Corporation                              3-1                                       xxxx6405
        Creditor Name                         Court Claim #                           Last Four Digits of Acct.#



 Name and Address where notices should be sent:                   Name and Address where payments should be sent:
    Summit Financial Corporation                                     Summit Financial Corporation
    PO Box 9013                                                      1883 Marina Mile Blvd. Suite 106
    Addison, Texas 75001                                             Fort Lauderdale, Florida 33315




  Dated:         April 28, 2022
                                                              Respectfully submitted,
                                                              Bonial & Associates, P.C.

                                                              /s/ Natalie Lea
                                                              Natalie Lea
                                                              14841 Dallas Parkway, Suite 300
                                                              Dallas, Texas 75254
                                                              (972) 643-6600
                                                              (972) 643-6698 (Telecopier)
                                                              E-mail: POCInquiries@BonialPC.com
                                                              Authorized Agent for Creditor
